           8:05-cr-00186-JFB-FG3              Doc # 74       Filed: 08/16/06        Page 1 of 1 - Page ID # 313
                                         UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEBRASKA
Denise M. Lucks                                  OFFICE OF THE CLERK                                             M. Therese Bollerup
Clerk of Court                                        www.ned.uscourts.gov                                       Chief Deputy Clerk



          TO:              The Honorable Joseph F. Bataillon

          FROM:            Clerk, U.S. District Court
                           Amy Brunswick

          DATE:            August 16, 2006

          SUBJECT:         8:05cr186 USA v. William Hansen

          A party, who has already been permitted to proceed in forma pauperis, or who is financially unable to
          obtain adequate defense in a criminal case, has filed a Notice of Appeal. Pursuant to the third paragraph of
          FRAP 24(a), a party may proceed on appeal in forma pauperis without further authorization unless the
          district judge certifies that the appeal is not taken in good faith or finds that the party is otherwise not
          entitled to proceed on appeal in forma pauperis. The district judge shall state in writing the reasons for such
          a certification or finding.

          In order for the Clerk’s office to process this appeal, please advise our office how you intend to proceed:

                    X      No order will be entered in this direct criminal appeal, and the party is permitted to
                           proceed on appeal in forma pauperis.
                           An order will be entered finding that the party is not entitled to proceed in forma
                           pauperis.
                           An order will be entered, and the party is permitted to proceed on appeal in forma
                           pauperis.
                           An order will be entered in this § 2254 or § 2255 case regarding Certificate of
                           Appealability.

          Dated this 16th day of August, 2006.

                                                                 s/Joseph F. Bataillon
                                                                 United States District Judge


                                     Additional Requirement for State Habeas or 2255 Cases

          Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the district judge who
          rendered the judgment shall either issue a certificate of appealability or state the reasons why such a
          certificate should not be issued.

          Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court rules on the in
          forma pauperis status and the certificate of appealability.


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